Fill in this information to identify the case:
Debtor 1               SHYLA MARIE KESLER

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the   Eastern District of Michigan

Case Number            16-47019




Official Form 410S1
Notice of Mortgage Payment Change                                                                                            12/15

If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in
the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
3002.1.



                                                                                         Court Claim no. (If known): 5
 Name of Creditor: MTGLQ Investors, L.P.
                                                                                         Date of Payment change: 07/01/2018
                                                                                         Must be at least 21 days after
                                                                                         date of this notice.
  Last 4 digits of any number you use
  to identify the debtor’s account: 0550                                                 New total payment:                  $ 796.38
                                                                                          Principal, interest and escrow, if any



Part 1:           Escrow Account Payment Adjustment
  1. Will there be a change in the debtor’s escrow account payment?
   No
   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law.
  Describe the basis for the change. If a statement is not attached, explain why:


    Current escrow payment: $ 211.57                                    New escrow payment: $ 203.00

Part 2:                Mortgage Payment Adjustment
 2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
   debtor's variable-rate account?
 No
 Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a
   notice is not attached, explain why:
 Current interest rate: %                                                  New interest rate: %

Current Principal and interest payment: $                                  New Principal and interest payment: $


Part 3:               Other Payment Change
 3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
 No

 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
 modification agreement. (Court approval may be required before the payment change can take effect.)
  Reason for change:                                                                                                                    _
 Current Mortgage payment: $                                                New Mortgage payment: $




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Debtor 1         SHYLA MARIE KESLER                                                       Case number (if known) 16-47019
                        First Name         Middle Name             Last Name




 Part 4:                Sign here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X /s/ Ashish Rawat                                                                                         Date: 06/06/2018
       Signature




  Print: Ashish Rawat                                                                                        Title: Claims Processor
           First Name    Middle Name   Last Name




  Company           AIS Portfolio Services, LP                                             _




  Address           P.O. Box 201347
                         Number               Street

                    Arlington                TX                  76006
                    City                           State                       ZIP Code


  Contact Phone          ((888) 455-6662                   )                                         Email




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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                             DETROIT DIVISION

     Case       SHYLA MARIE KESLER                               )     Case No.      16-47019
     Name:                                                       )     Judge:        Phillip J Shefferly
                                                                 )     Chapter:      13
                    Debtor(s).                                   )


                                        CERTIFICATE OF SERVICE

PLEASE BE ADVISED that on 06/06/2018 (the “Notice Date”), pursuant to Federal Rule of Bankruptcy
Procedure 3002.1(b)(the “Bankruptcy Rules”), MTGLQ Investors, L.P. filed a Notice of Change of Mortgage Payment
(the “Notice”). The Notice was filed due to a post-bankruptcy change of payment on the Debtor’(s) principal place
of residence. A copy of the Notice is attached hereto.

The filing of this Notice, via the Court’s Electronic Filing system, constitutes service upon the Chapter 13
Trustee and counsel for the Debtor(s), pursuant to Bankruptcy Rule 3002.1 and any and all applicable
Bankruptcy Rules.

I hereby certify that on 06/06/2018 a copy of the Notice was served upon the Debtor(s) on the Notice Date,
at the address listed below, by First Class U.S. Mail, postage prepaid.

Debtor:
            SHYLA MARIE KESLER
            6207 DELHI,
            CLARKSTON, MI 48348


I hereby certify that on 06/06/2018 a copy of this Notice and all attachments on the following by
Electronic Notification via CM/ECF and/or other Electronic Notification:

Trustee:
           DAVID WM RUSKIN
           26555 EVERGREEN RD STE 1100,
           SOUTHFIELD, MI 48076

Debtor's counsel:
           ATTORNEY AT LAW
           DOUGLAS P CHIMENTI
           15400 NINETEEN MILE ROAD, SUITE 115
           CLINTON TOWNSHIP, MI 48038
All Parties in Interest
All Parties requesting Notice

                                     By: /s/ Ashish Rawat
                                         Ashish Rawat, AIS Portfolio Services, LP.
                                         Authorized Agent for Shellpoint Mortgage Servicing




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                                                                     Shellpoint Mortgage Servicing                                                                      Final
                                                                     55 Beattie Place
                                                                     Suite 110
                                                                     Greenville, SC 29601
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                     Analysis Date:                                             May 18, 2018
        SHYLA KESLER                                                                                                                 Loan:                   0550
        6207 Delhi St                                                                                                                Property Address:
        Clarkston MI 48348                                                                                                           6207 Delhi St
                                                                                                                                     Clarkston, MI 48348




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual            Effective Jul 01, 2018          Prior Esc Pmt             December 01, 2017           Escrow Balance Calculation

P & I Pmt:                           $582.44                           $593.38 **       P & I Pmt:                           $593.38          Due Date:                                           Sep 01, 2017
Escrow Pmt:                          $183.94                           $203.00          Escrow Pmt:                          $211.57          Escrow Balance:                                      ($1,592.31)
Other Funds Pmt:                       $0.00                             $0.00          Other Funds Pmt:                       $0.00          Anticipated Pmts to Escrow:                            $1,839.40
Asst. Pmt (-):                         $0.00                             $0.00          Asst. Pmt (-):                         $0.00          Anticipated Pmts from Escrow (-):                          $0.00
Reserve Acct Pmt:                      $0.00                             $0.00          Resrv Acct Pmt:                        $0.00

Total Payment:                       $766.38                           $796.38          Total Payment:                       $804.95          Anticipated Escrow Balance:                           $247.09


Shortage/Overage Information                                      Effective Jul 01, 2018           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                   amounts or insurance premiums, your escrow balance contains a cushion of $406.01.
Upcoming Total Annual Bills                                                      $2,436.04
Required Cushion                                                                                   A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                  $406.01
Required Starting Balance                                                          $709.56         balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                                  ($462.47)         occurs. Your lowest monthly balance should not be below $406.01 or 1/6 of the
Surplus                                                                              $0.00         anticipated payment from the account.

        ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
      This is a statement of actual activity in your escrow account from June 2017 to June 2018. Last year's anticipated activity (payments to and from
      your escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required                Actual
                                                                                                                 Starting Balance                             $1,495.46           ($2,338.43)
        Jun 2017                     $189.96               $367.80                $969.00                      * Hazard                                        $716.42            ($1,970.63)
        Jul 2017                     $189.96               $367.88                                             *                                               $906.38            ($1,602.75)
        Aug 2017                     $189.96               $367.88                                             *                                              $1,096.34           ($1,234.87)
        Aug 2017                                                                                      $912.55 * Town Tax                                      $1,096.34           ($2,147.42)
        Sep 2017                     $189.96               $367.88                $906.37                      * Town Tax                                      $379.93            ($1,779.54)
        Oct 2017                     $189.96               $367.88                                             *                                               $569.89            ($1,411.66)
        Nov 2017                     $189.96               $183.94                                             *                                               $759.85            ($1,227.72)
        Dec 2017                     $189.96                                      $404.18             $403.49 * Town Tax                                       $545.63            ($1,631.21)
        Jan 2018                     $189.96                                                                   *                                               $735.59            ($1,631.21)
        Feb 2018                     $189.96               $367.88                                             *                                               $925.55            ($1,263.33)
        Mar 2018                     $189.96               $183.94                                             *                                              $1,115.51           ($1,079.39)
        Apr 2018                     $189.96               $423.14                                             *                                              $1,305.47             ($656.25)
        May 2018                     $189.96               $183.94                                             *                                              $1,495.43             ($472.31)
        May 2018                                                                                     $1,120.00 * Hazard                                       $1,495.43           ($1,592.31)
                                                                                                                 Anticipated Transactions                     $1,495.43           ($1,592.31)
        May 2018                                         $1,655.46 P                                                                                                                  $63.15
        Jun 2018                                          $183.94 P                                                                                                                  $247.09
                                   $2,279.52             $5,021.56            $2,279.55              $2,436.04
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.




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                                                          Shellpoint Mortgage Servicing                                                                    Final
                                                          For Inquiries: (800) 365-7107


                                                                                                                        Analysis Date:                                              May 18, 2018
                                                                                                                        Loan:                   0550

                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                 Escrow Balance
                              To Escrow          From Escrow                   Description                                                Anticipated                Required
                                                                              Starting Balance                                                  $247.09                  $709.56
   Jul 2018                       $203.00                                                                                                       $450.09                  $912.56
   Aug 2018                       $203.00                                                                                                       $653.09                 $1,115.56
   Sep 2018                       $203.00              $912.55                Town Tax                                                          ($56.46)                 $406.01
   Oct 2018                       $203.00                                                                                                       $146.54                  $609.01
   Nov 2018                       $203.00                                                                                                       $349.54                  $812.01
   Dec 2018                       $203.00              $403.49                Town Tax                                                          $149.05                  $611.52
   Jan 2019                       $203.00                                                                                                       $352.05                  $814.52
   Feb 2019                       $203.00                                                                                                       $555.05                 $1,017.52
   Mar 2019                       $203.00                                                                                                       $758.05                 $1,220.52
   Apr 2019                       $203.00                                                                                                       $961.05                 $1,423.52
   May 2019                       $203.00                                                                                                     $1,164.05                 $1,626.52
   Jun 2019                       $203.00             $1,120.00               Hazard                                                            $247.05                  $709.52
                                $2,436.00             $2,436.04
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is $247.09. Your starting
 balance (escrow balance required) according to this analysis should be $709.56. This means you have a shortage of $462.47.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.




 We anticipate the total of your coming year bills to be $2,436.04. We divide that amount by the number of payments expected during the coming year
 to obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                               $203.00
   Surplus Reduction:                                                        $0.00
   Shortage Installment:                                                     $0.00
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $203.00

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.




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